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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 11-23831-Civ-COOKE/TURNOFF

  ROBERT ROBINS,

          Plaintiff,

  vs.

  THE TOWERS OF QUAYSIDE NO. 1
  CONDOMINIUM ASSOCIATION, INC.,

        Defendant.
  _____________________________________/
                        FINAL JUDGMENT ON FEES AND COSTS
          It is hereby ORDERED and ADJUDGED, that final judgment is entered in favor of
  the Defendant, The Towers of Quayside No. 1 Condominium Association, Inc., and against
  the Plaintiff, Robert Robins, for attorney’s fees and costs in the amount of Fifty-Six
  Thousand One Hundred Forty-Five Dollars and No Cents ($56,145.00) in attorney’s fees,
  and Four Thousand Five Hundred Eight Dollars and Fourteen Cents ($4,508.14) in taxable
  costs, for which sum let execution issue.
          DONE and ORDERED in chambers, at Miami, Florida, this 11th day of September
  2014.




  Copies furnished to:
  William C. Turnoff, U.S. Magistrate Judge
  Counsel of record
